           Case 1:18-cr-00111-CMH Document 26 Filed 04/17/19 Page 1 of 1 PageID# 98
 jg^^f^gQ^8-cr-Oom-CMH Document 11 *SEALED* Filed 03/06/18 Page 1 of 1 PagelD# 76
                                          Criminal Case Cover Sheet U«S,Pistriet Conrt
 Place ofoffense;                     Under Seal: Yes          X No,                     Judge Assigned
 Ci^       Pollfes                    Stq»erseding Indictment                            Criminal Number: lilScr III
 County/Parish Londoun ffirst broughO              Same Defendant X                 New Defendant
                                      Magistmte Judge Case Number                    lilTmKtll           Anai^mnent Date:
                                      SeandiWSsiiBnt Case Number
                                      R20/R40fromDislrictof
                                      Related Case Name and No.:              1:11£0/1:11]IM3(same case different number)(lodge0*Grsdy)
                                                                              1:11DM2(Judge Ellis)


 Defendant Information:

Juvenile-Yes              No 2L.FBI#
Defendant Name: Jnlian Pan! Assange               .Alias NanK(5),
Address: XXXXXXXX.XXXXXj                                 SSL
En^loyment: Poander.WiidLeaks
Birth Date XXXX/im SS#                  Sex MDefRace            Caucasian      Nationalitv Australian        Place ofBirfe Town8vinei.AU

Height          Weldit       Hair                 Eves            Scars/Tattoos

Interpreten          No     Yeslist language and/or dialect:                  .Automobile Descr^on,
Location Status:

Arrest date:
Already in Federal Custody as of            m.

           Already in State Custody           .On Pietiial Release                  JL .NotinCostody
   JL    ,Arrest Warrant Reipiested                       Fugitive                                Summons Requested
         ,Airest Waxrant Pending                          .Detention Sou^                         Bond

Defense Connsdl Tnlbrmatiop;

Name:                                      Court^pointed               Counsel conflicted cut.
AcMxess:                              _Retained
Telephone:                                    Public Defender                 Federal Public Defender's Office conflicted out

U.S> Attornfty fafermalion
AiSA IfeHen Pwver.Thomas TVaxler. Tracv Pohertv-McCormick Telephone No.: 17031299-3707                                      Barim

C!onn>lalnantAgency.Address&Phone Number or Person &Hfle:

Sean Combs.Special Agent.Federal Bnrean ofInvertigadon



                                                                   Descifatton of       Ctargcd
                                                                                                            SOHaflti   CSroltalffaoBv/Mbdmettv
Setl 18UAC18837I.IOMfaV1^l03SfaUZt.1030feimmWin^               ftniPlracY to Commit C<?nnip««'intrmteH
Set 2

Date:    Mardh6>2018               Signature ofAUSA:
